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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


    THOMAS ISLEY, on behalf of himself and all
    others similarly situated,
                                                    Civil Action No.:
                              Plaintiff,

             v.                                     CLASS ACTION COMPLAINT
    BMW OF NORTH AMERICA, LLC and
    BAVARIAN MOTOR WORKS AG,                        JURY TRIAL DEMANDED

                              Defendants.



        The allegations herein are based on personal knowledge as to Plaintiff’s own conduct

and are made on information and belief as to all other matters based on an investigation by

counsel.

                                       INTRODUCTION

        1.        This is a putative class action against BMW of North America, LLC (“BMW

NA”) and Bavarian Motor Works AG (“BMW AG”) (collectively “BMW”) on behalf of

individuals who purchased or leased a 2012-present BMW automobile equipped with any

variant of the N63TU engine, including certain model years of the BMW 5 Series, 6 Series, 7

Series, X5, and X6 (the “Class Vehicles”).1

        2.        BMW cars containing the N63TU engines and its subsequent variants are

defective and were deceptively marketed and sold to consumers. As described in greater detail


1
 Upon information and belief, the Class Vehicles include the rear-wheel drive and all-wheel
drive variants of the following BMW models: 2013-2019 750i/750Li, 2013-2018 650i, 2013-
2019 650i Gran Coupe, 2013-2016 550i GT, 2014-2016 550i, 2017-2019 M550i, 2018-2019
M850i, 2014-2019 X5, 2014-2019 X6, and 2018-2019 X7.

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below, BMW cars equipped with BMW’s turbocharged V8 engines have long suffered from a

defect causing excessive oil consumption (the “Oil Consumption Defect”). BMW has known

about this for many years, and in fact faced a prior class action concerning earlier model cars

equipped with N63 engines, which is the predecessor of the N63TU. BMW never fixed the

defect, which continues to plague the Class Vehicles at issue in this action.

        3.       As a direct result of BMW’s wrongful conduct, owners of the Class Vehicles

have suffered damages, including, inter alia: (1) out-of-pocket expenses for increased oil

purchases, increased service visits, engine repair and/or engine replacement that would not be

necessary but for the Oil Consumption Defect; (2) costs for future repairs or replacements; (3)

sale of their vehicle at a loss; and/or (4) diminished value of their vehicles.

                                  JURISDICTION AND VENUE

        4.       This Court has subject matter jurisdiction under 28 U.S.C. § 1331 (federal

question). This Court has jurisdiction over supplemental state law claims pursuant to 28 U.S.C.

§ 1367.

        5.       This Court also has jurisdiction over this action pursuant to 28 U.S.C.

§ 1332(d)(2). The matter in controversy, exclusive of interest and costs, exceeds the sum or

value of $5,000,000 and is a class action in which there are more than 100 Class members,

members of the Classes (as defined below) are citizens of states different from Defendants, and

greater than two-thirds of the members of the Classes reside in states other than the states in

which Defendants are citizens.

        6.       Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 because

Defendant BMW NA, resides in and is headquartered in this district, regularly transacts

substantial business in this district, is subject to personal jurisdiction in this district, and




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therefore is deemed to be a citizen of this district. Venue is also proper in this judicial district

as to Defendant BMW AG because, as a non-resident of the United States, BMW AG “may be

sued in any judicial district.” Additionally, Defendants have advertised in this district and have

received substantial revenue and profits from their sales and/or leasing of Class Vehicles in this

district; therefore, a substantial part of the events and/or omissions giving rise to the claims

occurred, in part, within this district.

          7.     This Court has personal jurisdiction over Defendants because they have

conducted substantial business in this judicial district, and intentionally and purposefully placed

Class Vehicles into the stream of commerce within New Jersey and throughout the United

States.

                                              PARTIES

          8.     Plaintiff Thomas Isley is a citizen of the State of Tennessee and resides in

Kingsport, TN. In 2015, Mr. Isley purchased a 2015 BMW X5 xDrive50i equipped with an

N63TU engine from Rick Hill BMW in Kingsport, TN. He purchased the vehicle for personal

use. Unbeknownst to Mr. Isley at the time of purchase, his BMW contained the Oil

Consumption Defect. In early 2018, BMW replaced the engine in Plaintiff’s X5 because he had

to routinely add 6-8 quarts of engine oil in between oil changes (which Plaintiff paid for out of

pocket). However, the engine replacement did not resolve the Oil Consumption Defect. Even

after the engine replacement, Plaintiff’s X5 continues to consume excessive oil and requires

additional engine oil in between oil changes.

          9.    Plaintiff, individually and on behalf of the Class and Subclasses, complied with

any applicable pre-suit notice requirement by contacting counsel for BMW and demanding that

the company remedy his vehicle, as well as all other Class Vehicles.




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       10.      Defendant Bavarian Motor Works AG (“BMW AG”), is a corporation

organized and existing under the laws of Germany, with its principal place of business located

in Munich, Bavaria, Germany. BMW AG is the parent corporation of BMW of North America,

LLC. BMW AG designs, develops, manufactures, and sells luxury automobiles under the

BMW brand name.

       11.      Defendant BMW of North America, LLC (“BMW NA”) is organized under the

laws of Delaware with its principal place of business located at 300 Chestnut Ridge Road,

Woodcliff Lake, New Jersey. BMW NA was created in 1975 to act as the United States

importer of BMW luxury and performance vehicles, which were traditionally manufactured in

Munich, Germany. The company sells vehicles through hundreds of independently-owned

dealerships across the United States. At all relevant times, BMW NA was engaged in the

business of importing, assembling, marketing, distributing, and warranting BMW automobiles

in the State of New Jersey and throughout the United States.

       12.      BMW NA and BMW AG sell BMW vehicles through a network of dealerships

that are agents of BMW NA and BMW AG.

       13.      There exists, and at all times herein existed, a unity of ownership between

BMW NA, BMW AG, and their agents such that any individuality or separateness between

them has ceased and each of them is the alter ego of the others. BMW AG communicates with

BMW NA concerning virtually all aspects of the BMW products it distributes within the United

States. Generally, BMW AG is responsible for the design and manufacture of the Class

Vehicles, and BMW NA is responsible for advertising, distribution, warranties and customer

service.

       14.      At all times relevant to this action, Defendants manufactured, distributed, sold,




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leased, and warranted the Class Vehicles under the BMW brand name throughout the United

States. Defendants and/or their agents also developed and disseminated the window stickers,

owner’s manuals and warranty booklets, USA Warranty and Maintenance schedules, the BMW

Maintenance Program, advertisements, and other promotional materials relating to the Class

Vehicles.

       15.      At all relevant times, each BMW-authorized dealership and service provider

acted as an authorized agent, representative, servant, employee and/or alter ego of BMW NA

and/or BMW AG while performing activities including but not limited to advertising,

warranties, warranty repairs, dissemination of technical information, and monitoring the

performance of BMW vehicles in the United States, including substantial activities that

occurred within this jurisdiction.

                                NEW JERSEY LAW APPLIES

       16.      New Jersey law applies to the nationwide claims because New Jersey’s interest

in this litigation exceeds that of any other state. New Jersey has significant contact, or

significant aggregation of contacts, to the claims asserted by Plaintiff and all Class members,

thereby creating state interests that ensure that the choice of New Jersey state law is not

arbitrary or unfair. The State of New Jersey has the most significant relationship to this

litigation and its law should govern.

       17.      BMW owns property and conducts substantial business in New Jersey.

BMW’s customer relations, technical training center, engineering, marketing, and warranty

departments are all located in BMW NA’s Woodcliff Lake campus. BMW’s customer relations

department is responsible for fielding customer complaints and monitoring customer complaints

posted to BMW or third-party websites. BMW’s warranty and engineering departments are




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both responsible for the decisions to conceal the Oil Consumption Defect from BMW’s

customers, and for instituting a policy to systematically delay, defer, and/or deny warranty

coverage to those who experienced engine failure caused by the defect. BMW also has a

vehicle preparation center in Port Jersey, New Jersey, where BMW inspects and prepares its

vehicles for distribution throughout the United States, including the Class Vehicles.

       18.      The policies, practices, acts and omissions giving rise to this Action were

developed in, and emanated from, BMW’s headquarters in Woodcliff Lake, New Jersey. As

detailed below, BMW also came to know, or should have come to know, of the Oil

Consumption Defect through the activities of BMW divisions and affiliated entities located

within New Jersey. BMW NA made decisions in New Jersey related to advertisements,

marketing, sales, and warranties of BMW vehicles.

       19.      Defendant BMW NA is the sole entity in the contiguous 48 U.S. states

responsible for distributing, selling, leasing and warranting BMW vehicles.

                       TOLLING OF STATUTES OF LIMITATIONS

       20.      Any applicable statute(s) of limitations have been tolled by BMW’s knowing

and active concealment and denial of the facts alleged herein. Plaintiff and the members of the

Class could not have reasonably discovered the true, latent nature of the engine defects until

shortly before this class action litigation was commenced.

       21.      Even after Plaintiff and Class Members contacted BMW and/or its authorized

dealers for vehicle repairs concerning the Oil Consumption Defect, they were routinely told by

BMW and/or through its dealers that the Class Vehicles were not defective.

       22.      BMW was and remains under a continuing duty to disclose to Plaintiff and the

members of the Class the true character, quality and nature of the Class Vehicles, i.e. that the




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Class Vehicle engines are defective and will require costly repairs, pose safety concerns, and

diminish the resale value of the Class Vehicles. As a result of the active concealment by BMW,

any and all applicable statutes of limitations otherwise applicable to the allegations herein have

been tolled.

                                         FACTUAL ALLEGATIONS

I.         The Predecessor N63 Engine And The Oil Consumption Defect

           23.       In 2008, BMW introduced a new turbocharged V8 engine, commonly called

the “N63.” The N63 was groundbreaking in its design in that it “was the first to market with a

hot-vee configuration and other cutting-edge technology like direct injection working in

conjunction with twin turbochargers. … [T]he N63 offered a reduced footprint for improved

packaging, largely thanks to the hot-vee layout with the exhaust manifold and turbochargers

mounted between the cylinder banks, exactly the opposite of generations worth of previous

designs, which conventionally had exhaust manifolds on the outside of the cylinder banks and a

single intake manifold occupying the valley.”2

           24.       The hot-vee design was a key feature of the N63. Most auto manufacturers

locate turbochargers outside of this V configuration, away from components that can become

damaged or impacted from the excessive heat of the turbochargers. While BMW’s

configuration saved space under the hood, it caused excessive heat-soak to the N63 engine and

surrounding components. As a result, the N63 engines consumed excessive amounts of engine

oil between regularly scheduled service visits, which lead to an increased need for engine

repairs or replacements, – such as replacement of valve stem seals – especially compared to

other, similar vehicles not containing N63 engines (the “Oil Consumption Defect”).



2
    https://bimmerlife.com/2018/08/23/n63-s63-differences-and-evolution/ (last visited Apr. 8, 2019).


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        25.     While the symptoms of the Oil Consumption Defect can manifest immediately,

they can also worsen over time (for instance, at around 75,000 miles), long after the New

Vehicle Limited Warranty for the Class Vehicles expires. This means that many class members

will begin to experience the Oil Consumption Defect soon, if they have not already.

        26.     One of the reasons that the Oil Consumption Defect worsens over time is that

the high heat of the already oil-thirsty engine tends to damage valve stem seals, hoses and other

parts, leading to oil leaks that exacerbate the problem. As one technician explained: 3

               I remember back in the day, probably around 2008, when this guy
               came in with an E53 X5 with an N62 engine complaining about
               smoke from the tail pipe. We had never seen this before, so we
               checked the car the first time and couldn’t find anything wrong with
               it so we let the car go. The guy came back a week later, insisting
               that his car was smoking from the tail pipe, and told us to let it idle
               for 15 minutes. We did that, and sure enough, there was smoke
               coming from the tail pipes. After checking a lot of stuff like
               crankcase vent valves and valve covers we figured out that the
               valve stem seals were leaking. After that, we started seeing a lot of
               these engines smoking from the exhaust at around 75,000 miles
               and up. Some were not too bad, and some looked like mosquito
               trucks.

               After so many years of seeing these seals leak, the new N63
               engine came out. BMW never addressed the issue with the
               N62, but we figured that for the new N63 engine there would
               be a design change to improve this flaw. Well guess what, the
               N63 uses the same damn part number for the valve stem seals
               in both engines and now the N63 is smoking too. When you
               have smoke from the tail pipe from worn valve stem seals, this
               means that you’re burning the engine oil inside the combustion
               chamber. All engines consume some oil, but these burn a LOT
               of oil when they are smoking, and you end up topping off the
               engine oil frequently. BMW now states that it’s normal for
               these turbo engines to consume about a liter of oil every 750
               miles. In my opinion that’s really high, but then again I’m not an
               engineer. I just haven’t seen a properly running N63 burn that
               much oil. It also doesn’t help that the turbos sometimes start

3
 https://bmwvirtuoso.blogspot.com/2015/06/bmw-n63-valve-stem-seals.html (last visited Apr.
29, 2019).


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               to leak and can also cause a lot of oil burning, or make the
               situation worse combined with the valve stem seals. …

        27.     As another technician observed:4

               The BMW N63 is a thirsty motor, and this became apparent
               early on. … [T]he oil change interval was moved from the insane
               15k miles, to 10k. An extra liter was added to the capacity of the
               sump to make all the way to 10k without a top-up. Additionally,
               because of how hot the top of the engine is, the plastic PCV system
               gets an extreme workout in the heat cycling category. This causes
               hoses to crack and break, and seals to shrink, causing oil leaks all
               over the place. Typically these manifest themselves as a faint
               waft of oil smoke coming out from under the hood, very luxurious.
               Speaking of Luxurious, the valve stem seals are another non-
               metal component on the top of the engine that are subjected to
               huge doses of turbo heat. Eventually they will start to leak,
               causing your high end BMW to smoke like a Dodge Monaco
               after a few too many years in the front yard. …

        28.     Engine oil is important because it functions as an essential lubricant for the

moving parts in internal combustion engines. The oil creates a film separating surfaces of

adjacent moving parts to minimize direct contact, thereby decreasing heat caused by friction

and reducing wear. Engine oil also has important cleaning functions and serves as an important

medium for dissipating heat throughout the engine. As a result, the Class Vehicles need the

proper amount of engine oil in order for the engine and its related parts to function safely.

        29.     The Oil Consumption Defect impacts several components of the N63TU

engines, either via combustion of excessive amounts of engine oil directly or by providing these

components with inadequate lubrication, which causes these components to prematurely fail

and be frequently replaced.

        30.     The Oil Consumption Defect is a safety concern because it prevents the engine

from maintaining the proper level of engine oil and causes voluminous oil consumption that


4
 https://www.eeuroparts.com/blog/9654/bmw-n63-hot-vee-hot-garbage/ (last visited Apr. 30,
2019).

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cannot be reasonably anticipated or predicted. The Oil Consumption Defect is unreasonably

dangerous because it can cause engine failure while the Class Vehicles are in operation at any

time and under any driving conditions or speeds, thereby exposing the Class Vehicle drivers,

their passengers, and others who share the road with them to serious risk of accidents and

injury.

          31.   BMW had a duty to disclose the Oil Consumption Defect and the associated

out-of-pocket repair costs to Class Members because the defect poses an unreasonable safety

hazard, and because BMW had exclusive knowledge or access to material facts about the Class

Vehicles that were not known or reasonably discoverable by the Class. BMW, however, failed

to disclose the Oil Consumption Defect to consumers prior to or at the time of purchase or

lease.

          32.   BMW also had a duty to disclose the Oil Consumption Defect and associated

out-of-pocket repair costs to Class Members because, as alleged more fully in sections below

addressing BMW’s warranties, BMW made uniform, partial representations about the need for

regularly-scheduled oil refills, without disclosing the presence of the Oil Consumption Defect,

which requires frequent oil refills outside of regularly scheduled maintenance. Worse, BMW’s

policy was to tell consumers that it was “normal” for its cars to consume a lot of oil, but there is

nothing “normal” about the Oil Consumption Defect. BMW also made a partial representation

by telling Class Vehicle owners that – under the BMW Maintenance Program – their oil costs

would be $0 for the first 4 years / 50,000 miles of their ownership.“,”“”

          33.   The Oil Consumption Defect is consequential to Class Members, burdening

them with out-of-pocket expenses that would not be necessary but for such defect and depriving

them of their original bargains. First, due to the excessive engine oil consumption, owners must




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frequently pay for and add additional engine oil in between oil changes, notwithstanding the

BMW Maintenance Program promises to “cover[] all factory-recommended maintenance, as

determined by the Condition Based Service (CBS) system” Second, the Oil Consumption

Defect means that Class Vehicle owners must be concerned with obtaining BMW-approved

engine oil when needed. If owners continue to drive without adding oil, their vehicles might

catastrophically fail and strand them or potentially cause a life-threatening accident. This

discourages some owners from traveling long distances in their Class Vehicles unless they bring

extra supplies of oil with them. Third, Class Vehicle owners are at risk of suffering a

catastrophic engine failure in the future – and out of warranty – due to the Oil Consumption

Defect. Fourth, Class Vehicle owners will suffer significant loss when they sell the Class

Vehicles because the reputation of these vehicles has been impaired due to the Oil Consumption

Defect.

II.       The N63TU Engine And Its Variants Suffer From The Oil Consumption Defect

          34.    In 2012, BMW released the N63TU engine – an updated version of the original

N63. “For 2012, some four years after initial versions were first fitted to production vehicles,

the first technological update for the N63 was put into manufacturing, destined for 2013 model

year BMWs. The N63B44O1 or N63TU as it is referred [was] … [r]eleased midway through

various platform production cycles, this version of the N63 would primarily see use in LCI

variants of the aforementioned 5, 6, and 7 Series, along with the X5 and X6.” 5 The N63TU

was equipped in the following Class Vehicles: 2013-2015 750i/750Li, 2013-2016 550i GT,

2014-2016 550i, 2014-2018 X5, 2014-2019 X6, 2013-2019 650i.



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 https://bimmerlife.com/2018/08/23/n63-s63-differences-and-evolution/ (last visited Apr. 8,
2019).


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       35.      The N63TU is merely an update or evolution of the original N63 that still

features the unique hot-vee engine design. While “BMW prefers to use phrases and terms that

summarize the engines within new models like the M5 or M850i as entirely new or completely

redesigned, … the truth of the matter is that the same underlying N63 engine architecture has

been at work the entire time, albeit with incremental and evolutionary changes having been

fitted as technology and time allowed.”6 The N63TU “used several components off the

venerable N55 turbo engine. These include the fuel injectors (which utilized a different style

design) and Valvetronic III variable lift intake cam system, which was omitted at the original

launch.”7 However, this was not enough to remedy the Oil Consumption Defect because the

N63TU ““continues to be plagued by issues baked-in from the original design.”

       36.      In 2016, BMW once again updated the N63 and debuted the N63TU2 engine.

“Things were updated once again in 2016, this time with twin-scroll turbochargers taking the

place of the conventional units within the N63, along with moving the oil and coolant heat

exchangers in between the cylinder banks. This version is sometimes referred to as the

N63TU2, but appears on build sheets as N63B44O2.” 8 The N63TU2 was equipped in the

following Class Vehicles: 2016-2019 750i/750Li and the 2016-2019 M550i xDrive.9

       37.      In 2018, BMW released the N63TU3, another updated N63. “Summarized

under the umbrella term N63TU3, the individual versions are referred to as the N63B44M3 and


6
  https://bimmerlife.com/2018/08/23/n63-s63-differences-and-evolution/ (last visited Apr. 8,
2019).
7
  https://www.eeuroparts.com/blog/9654/bmw-n63-hot-vee-hot-garbage/ (last visited Apr. 29,
2019).
8
 https://bimmerlife.com/2018/08/23/n63-s63-differences-and-evolution/ (last visited Apr. 8,
2019).
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 https://bimmerlife.com/2018/08/23/n63-s63-differences-and-evolution/ (last visited Apr. 8,
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N63B44T3. Changes for both include improved thermal shielding on the crank case and

cylinder heads[,] … along with a redesigned ignition system.”10 “The T3 version, which [is]

fitted to the [2018-2019] M850i [and the 2019 750i/750Li] takes those improvements but adds

high-pressure 5,000 PSI fuel injection, enlarged twin-scroll turbochargers, a redeveloped intake

manifold and an additional upstream radiator.” 11 The M3 version, by contrast, is fitted to the

2018-2019 X5 and the 2018-2019 X7.12

        38.     Despite design changes, the N63TU and its variants still suffer from the Oil

Consumption Defect that plagued the original N63 and has been a persistent problem since the

N63TU engine was first introduced in mid-2012.

        39.     The N63TU and its variants were equipped in the Class Vehicles as follows:

 Year               Model               N63 Variant         Body Code           Warranties Start
                                                                                Expiring
 2013-2016          550i GT             N63TU               F07                 2017
 2014-2016          550i                N63TU               F10/F11             2018
 2017-2019          M550i               N63TU2              G30                 2021
 2013-2018          650i                N63TU               F12/F13             2017
 2013-2019          650i Gran Coupe     N63TU               F06                 2017
 2013-2015          750i/750Li          N63TU               F01/F02             2017
 2016-2019          750i/750Li          N63TU2              G12                 2020
 2019               750i/750Li          N63TUT3             G12                 2023
 2018-2019          M850i               N63TUT3             G15                 2022
 2014-2018          X5                  N63TU               F15                 2018
 2018-2019          X5                  N63TUM3             G05                 2022
 2014-2019          X6                  N63TU               X6                  2018
 2018-2019          X7                  N63TUM3             G07                 2022




10
  https://bimmerlife.com/2018/08/23/n63-s63-differences-and-evolution/ (last visited Apr. 8,
2019).
11
  https://bimmerlife.com/2018/08/23/n63-s63-differences-and-evolution/ (last visited Apr. 8,
2019).
12
  https://bimmerlife.com/2018/08/23/n63-s63-differences-and-evolution/ (last visited Apr. 8,
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III.      BMW’s Knowledge Of The Oil Consumption Defect

          A.     The Oil Consumption Defect Has Been A Persistent Problem Since
                 Defendants First Introduced The N63 Engine

          40.     Defendants have known about the Oil Consumption Defect since at least 2008

through sources not available to Class Members, including but not limited to pre-release testing

data, durability testing, early consumer complaints about the Oil Consumption Defect to

Defendants and their dealers, testing conducted in response to those complaints, aggregate data

from BMW dealers, including dealer repair orders and high warranty reimbursement rates, and

other internal sources. Defendants knew that the later N63TU engines suffered from the Oil

Consumption Defect from these same sources, and also because (as alleged above), the N63TU

engine had the same “underlying engine architecture” as the original N63, and the defect was

“baked-in from the original design.” Put another way, BMW did not change anything when

designing and manufacturing the N63TU that would fix the Oil Consumption Defect in the

original N63.

          41.     Knowledge also is imputed to BMW AG because BMW NA monitored

warranty claims and Class Vehicle performance in the United States and reported back to its

affiliated and parent company located in Germany. In addition, the parent company monitored

claims and performance of the Class Vehicles sold in other countries.

          42.     In 2015, Consumer Reports published a study on excessive oil consumption,

which examined nearly 500,000 vehicles across several makes and models. The N63-equipped

BMW 5 Series was the worst performer; the N63-equipped BMW 7 Series was the second

worst; and the N63-equipped BMW 6 Series was the third worst.13 The Consumer Reports

study also showed that 43 percent of 2011 BMW 5 Series cars equipped with the N63 engine


13
     https://www.consumerreports.org/cro/magazine/2015/06/excessive-oil-consumption/index.htm

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required additional engine oil to be added between BMW’s recommended oil change intervals.

In comparison, only 2 percent of all surveyed 2011 vehicles reported needing an extra quart of

engine oil added between oil changes. As a matter of common sense, Defendants would have

learned about this study in 2015 because it was published by a widely-known and widely-

respected organization.

         43.     Online reputation management (commonly called “ORM” for short), is now a

standard business practice among most major companies and entails monitoring consumer

forums, social media and other sources on the internet where consumers can review or comment

on products. “Specifically, [online] reputation management involves the monitoring of the

reputation of an individual or a brand on the internet, addressing content which is potentially

damaging to it, and using customer feedback to try to solve problems before they damage the

individual’s or brand’s reputation.”14 Many purchasers of vehicles containing the original N63

engine complained about the excessive engine oil consumption and need for frequent top-ups.

Consumers posted numerous complaints on BMW-enthusiast websites and owner message

boards about BMW cars equipped with the original N63 engine, and (as alleged more fully

below) consumers continued to post similar complaints later about cars equipped with the

N63TU. They also filed numerous complaints with the National Highway Traffic Safety

Administration (“NHTSA”) about excessive oil consumption. BMW regularly monitored these

sources in connection with its ORM activities and therefore would have seen complaints about

the Oil Consumption Defect by 2012, at the latest.

         44.     BMW also knew about the Oil Consumption Defect from similar complaints

about the original N63 and later N63TU made directly to the BMW NA’s Customer Relations



14
     https://en.wikipedia.org/wiki/Reputation_management#Online_reputation_management.

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and Services Department. Plaintiff’s warranty includes the following instructions if a service

center fails to address a customer’s complaint:

               Despite the best intentions of all parties, a misunderstanding may
               occur between you and your authorized BMW SAV center. Should
               this occur and you require further assistance, please contact the
               BMW NA Customer Relations and Services Department at:

               Telephone: 1 800 831-1117

               Email: customerrelations@bmwusa.com

               Website: www.bmwusa.com

This means that BMW had a direct, real-time source of product feedback that was

entirely independent of its service representatives.

         45.     BMW also knew about the Oil Consumption Defect because the defect

 prompted a class action lawsuit covering vehicles equipped with the original N63 engine. On

 September 19, 2015, in Bang v. BMW N. Am. LLC et al., D.N.J. Case No. 2:15-cv-06945,

 several owners of N63-equipped cars filed a class action lawsuit seeking compensation for the

 Oil Consumption Defect. That case settled, and Judge Arleo of this District granted final

 approval on September 11, 2018. Among other relief, BMW agreed to reimburse class

 members for certain out-of-pocket costs related to the Oil Consumption Defect, provide credits

 for future oil services, and in some instances provide a replacement engine. After the Bang

 case was filed, however, BMW did nothing to correct the Oil Consumption Defect in other

 cars equipped with the later N63TU engines, or any efforts BMW took were ineffective.

       B.      Defendants’ Technical Service Bulletins And 2014 Customer Care Package

       46.       Since 2013, BMW has released one Technical Service Bulletin (“TSB”) after

another directed at the Oil Consumption Defect. These TSB’s demonstrate BMW’s long-

standing knowledge of the defect, its inability to fix the defect, and its efforts to falsely portray



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the excessive oil consumption as “normal.”

       47.      In May 2013, BMW released TSB SI B11 01 13, which applied to both the

original N63 engine and later N63TU engines. In that TSB, BMW acknowledges that

consumers were complaining that the engine oil consumption is “too high,” and instructed

service technicians to respond to such complaints by adding two quarts of engine oil, even

though the driver display in the vehicles tells owners to add only one quart. That TSB stated as

follows:

               Subject: N63 and N63T Engine: Engine Oil Consumption, Engine
               Oil Top-ups and Refill Capacity
               MODEL
               F01 F02 F06 F07 F10 F12 F13 E70 E71

               Customers with one of the vehicles above may complain that the
               engine’s oil consumption is “too high,” resulting in engine oil
               top-ups and workshop visits to address the issue before the
               vehicle displays an engine oil service as being “due.” When the
               vehicle’s engine oil drops to the minimum level, a message will
               display in the vehicle advising the driver to “add 1 quart of engine
               oil.” After topping up and continued operation, the “add engine oil”
               message may display again before an engine oil service is required
               and performed.

               Cause:
               Engines that are fitted with a turbocharger, as part of their normal
               operation, will consume engine oil at a higher rate than a naturally
               aspirated engine (non-turbocharged engine). In this case, a
               “turbocharged” engine could require topping up of the engine oil
               more frequently.

               Procedure:
               Engine oil - Topping up
               When one of the above vehicles displays a message to add 1
               quart of engine oil, BMW recommends adding 2 quarts of
               engine oil instead. The engine’s oil sump design allows the
               additional quart; the result is a total capacity of 9.5 quarts (9.0 liters)
               of engine oil.

               Engine oil:
               Maintenance services and engine repairs



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               When performing all future engine oil maintenance services and
               repairs that require draining and refilling the engine oil, the new
               recommended refill specification is 9.5 quarts (9.0 liters) of
               engine oil.

       48.      Simply put, instead of addressing the underlying cause of excessive oil

consumption to fix that defect, BMW recommended that its service technicians add more

engine oil to minimize top ups in response to consumer complaints. While BMW did not

address the underlying problem, it likely reduced the number of complaints because the engine

oil level in Class Vehicles would now be overfilled, a condition that can cause the engine oil to

become aeriated, resulting in potential oil starvation and reduced oil pressure.

       49.      In October 2018, BMW updated TSB SI B11 01 13 to cover additional Class

Vehicles:




       50.      In August 2013, BMW issued TSB SI B11 03 13, which set forth a new “Oil

Consumption Specification” stating that “[a]ll BMW engines (excluding Motorsport) can

consume up to 1 quart of engine oil per 750 miles at any time:”




       51.      In the August 2013 TSB, BMW again noted that turbocharged engines “could

require topping up of engine oil more frequently” and that the “additional engine oil

consumption of a turbocharged engine, as compared to a normally aspirated engine, is normal

and not a defect.” Nonetheless, BMW used this TSB to also provide instructions for conducting


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a “oil consumption test” in order to identify excessive oil consumption.

       52.      BMW updated TSB SI B11 02 13 three years later, in August 2016. When it

did so, BMW also instructed dealers and technicians to provide the following brochure to the

customer “when topping up the engine oil” in N63 and N63TU-equipped cars:




       53.      As can be seen from the brochure shown above, BMW continued to




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misrepresent to Class Members that the rate of oil consumption in the N63TU engines was

“normal” and to be expected in engines that are fitted with turbochargers. This level of engine

oil consumption is not normal or expected. Indeed, the subtitle of the above-referenced 2015

Consumer Reports study was: Excessive oil consumption isn’t normal: Automakers say adding

oil between scheduled changes is acceptable. It’s not.

          54.     In September 2013, BMW issued TSB SI B11 04 13, titled “N63TU Engine:

Engine Oil Consumption” to address “customer complains that the ‘low engine oil’ message is

displayed too frequently.”15 The TSB identified potential causes of the oil consumption defect

and affected models:




This TSB also provided procedures for addressing this issue, including instructions on how to

perform an oil consumption test. BMW updated this TSB in November 2014 and June 2016.

          55.     In February 2017, BMW issued TSB SI B11 01 17 titled “N63T AND S63T

ENGINE: VALVE SEAL REPLACEMENT” in order to provide “a new procedure for the

N63TU valve seals replacement.”16 Per this TSB, valve seals should be replaced when there is



15
     https://static.nhtsa.gov/odi/tsbs/2013/SB-10053583-5021.pdf (last visited Apr. 30, 2019).
16
     https://static.nhtsa.gov/odi/tsbs/2017/MC-10146525-9999.pdf (last visited Apr. 29, 2019).

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“[e]xcessive engine oil consumption.” This TSB reveals that the N63TU - like the N63 - is

susceptible to excessive oil consumption due to leaking valve seals. BMW updated this TSB in

May and November 2017 to include additional models:




          56.     In August 2017, BMW issued TSB SI B11 11 17 titled “ENGINE LEAK

DIAGNOSIS ON TURBOCHARGED V8 ENGINES.” BMW issued an updated version in

September 2018 applicable to vehicles equipped with an N63TU or its variants.17 Given the

complexity of these engines, BMW instructs its technicians that “it is necessary to use a



17
     https://static.nhtsa.gov/odi/tsbs/2018/MC-10149961-9999.pdf (last visited Apr. 30, 2019).

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borescope to identify if the source of the leak is from under the turbochargers. Engine oil or

coolant leaking from the bell housing area or the front timing chain cover area may be caused

by the turbocharger itself, a turbocharger oil/coolant feed line or turbocharger oil/coolant return

line.” As this TSB confirms, all variants of the N63TU are susceptible to the Oil Consumption

Defect and require an internal engine inspection to diagnosis the source. 18 In April 2018,

BMW released TSB SI B11 03 18 titled “N63R ENGINE: ENGINE OIL LEAK DIAGNOSIS

AT TURBOCHARGER” to diagnose the source of oil leaks in additional models equipped with

variants of the N63TU:




          57.    In addition to the various TSB’s described above, BMW also responded to

customer complaints about the Oil Consumption Defect with a so-called “Customer Care

Package” issued in late 2014. The Customer Care Package consisted of several different

measures, which merely mask, but did not correct, the serious design and/or manufacturing

defects of the N63 engine including the Oil Consumption Defect:

          •      BMW had long emphasized the fact that its vehicles can go long periods without
                 service and sold many N63 vehicles with the promise of a two-year or 15,000-
                 mile service interval. The Customer Care Package significantly reduced the

18
     https://static.nhtsa.gov/odi/tsbs/2018/MC-10149961-9999.pdf (last visited Apr. 29, 2019).

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               mileage of its recommended engine oil change intervals for all Class Vehicles.
               As a result, BMW reduced the oil change intervals from the earlier of
               15,000/two years to the earlier of 10,000 miles or one year.

       •       BMW simultaneously launched the “N63 Customer Loyalty Offer” which
               offered purchasers discounts on new BMW vehicles to replace their defective
               N63 vehicles.

       •       BMW also launched a related “N63 Customer Appreciation Program,” which
               authorized dealerships to provide purchasers with up to $50 of BMW
               merchandise or accessories.

       58.     Despite offering a Customer Care Package for N63-equipped cars, BMW has not

 extended this program to the vehicles at issue here – BMWs equipped with the N63TU engine

 or any of its variants, even though the latter also suffer from the Oil Consumption Defect.

       C.      Customer Complaints Online And To NHTSA

       59.     As alleged above, BMW owners have complained on the internet for years about

the Oil Consumption Defect. Internet forums for BMW owners and enthusiasts are replete with

complaints about the Oil Consumption Defect occurring in later model years equipped with

N63TU engines. For example, complaints can be found on Bimmerfest.com, which is part of

the AutoGuide.com network of professionally managed automotive enthusiast internet forums.

BMW monitors the website in connection with its online reputation management activities

because the website is popular among U.S. BMW owners. As a result, BMW would have seen

complaints and concerns about the Oil Consumption Defect in 2013 and later model year cars

equipped with the N63TU engine. These posts also show that BMW is continuing to downplay

the problem, just as it did with the earlier model year cars at issue in the earlier Bang litigation.

These complaints also show that (1) consumers are upset about the Oil Consumption Defect, (2)

BMW tells consumers to purchase needed oil at their own cost, and (3) the defect can manifest

even in cars with low mileage. The following are some of complaints and concerns posted on

Bimmerfest.com:


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      •      “I purchased a BMW X5 in 2015 and began to observe excessive oil
             consumption by February 2016. It consumed 1 quart every 800Km to 900Km.
             The local BMW agent is aware of the situation as they have been logging all the
             top-ups. This seems to be a major mechanical defect, but I am being advised to
             continue with the topping up or change the engine at my cost. This has already
             caused major inconvenience and reduces the value of my investment in this
             high-end vehicle. I am very disappointed with this situation and cannot believe
             that this would be BMW’s policy.”

      •      “Hi, on a recent weekend trip my 2016 50i went from warning oil low to oil
             below low refill now with two quarts, at just 4300 miles! I did some searching
             and it seems this is a common issue, several older threads, a consumer reports
             study, BMW stating a quart per 900 miles, and there is a class action lawsuit
             against BMW, and other manufacturers. I’ve never ever owned a car that used
             this much oil! The nearest dealer I found on the way refilled without blinking,
             did not even ask my name or details.

      •      “My experience with a 2017... Going down the interstate with the cruise set at
             83MPH on the start of a 500 mile road trip and “DING” goes the oil meter. Only
             yellow, then 75 miles later “DING” again and now it is critical and red. Had to
             stop and I hate stopping except for fuel. Love the car but god dam at +$85K and
             6 months old I should not need to exit and buy two quarts of oil.”

      •      “BMW will tell you it’s normal. Anyone who knows about engines will tell you
             they’re just covering for a known problem they can’t seem to solve. Sniff around
             Bimmerpost and you’ll see others with the same problem.”

      61.     As another user detailed:

             I took my car in for service at the beginning of this week. I told them about the
             usual oil consumption issue, and this would have been 800 miles since the last
             oil change. The oil level had gone down by 1/4 notch which is about a quart.
             The EPS (ticking noise from the steering wheel front of car) had came back from
             a year ago when it was replaced and fixed. A few days later, he informed me that
             they will replace the engine. It currently has 24K on it.

             I mentioned to him about the valve steam seal issue, the crankshaft ventilation
             seal, and among a few other things. He said, we will take care of the issue.
             Problems like this on this engine (n63tu), they do not replace valve stem seal. They
             replace the whole engine. I was speechless.19

      62.     At least one person who posted on Bimmerpost.com apparently received candid



19
 https://www.bimmerfest.com/forums/showpost.php?p=9562921&postcount=1 (last visited
Apr. 8, 2019).

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information from a BMW representative: “The issue cannot be resolved according to BMW.

They said if you replace every part the engine will still have this issue. I can’t believe that

BMW sells that engine—they know it doesn’t work reliably.”

       63.       There also have been several complaints to NHTSA about the Oil Consumption

Defect. BMW monitors those complaints as part of its online reputation management and/or to

identify potential defects in its vehicles, knowing that it is often the case that for every person

who complains about a defect, there are many other people who experienced the same defect

but who do not complain to NHTSA.

       64.       Between 2013 and 2015, there were several complaints posted on NHTSA’s

website concerning the Oil Consumption Defect in cars with the original N63 engine.

Consumers complained of “hav[ing] to add oil every 500 miles,” complained that BMW did

nothing about the problem, and that burning through so much oil so quickly “could leave the

vehicle stranded and inoperable”—even in “brand new vehicles.”

       65.       Consumers have made similar complaints to NHTSA about the later N63TU

engines at issue here:

               Date Complaint Filed:        5/31/2018
               Date of Incident:            5/01/2018
               Component(s):                ENGINE
               NHTSA ID Number:             11098956
               Consumer Location:           Phoenix, AZ.
               Vehicle Identification No. (VIN): 5UXKR6C550J******
               Summary of Complaint:        2010-2013 N63 V8 ENGINES HAD
               NUMEROUS ISSUES WITH VALVE SEALS, CCV HOSES, OIL LEAKS
               AND PREMATURE ENGINE FAILURE LEADING TO LAWSUITS AND
               RECALLS. BMW SAYS THEY IMPROVED THE PROBLEM WITH 2013+
               N63TU ENGINES, BUT AT 50,000 MILES, MINE ALSO HAD FAILING
               CCV HOSES AND OIL PAN LEAKS, AND POTENTIAL EXPENSIVE
               VALVE GUIDE SEAL FAILURE


               Date Complaint Filed:           9/25/2017



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              Date of Incident:            6/29/2015
              Component(s):                ENGINE
              NHTSA ID Number:             11025421
              Consumer Location:           PHILADELPHIA, PA.
              Vehicle Identification No. (VIN): WBSFV9C59DC******
              Summary of Complaint:        CAR READS LOW ON OIL WHILE DRIVING. I
              HAVE TAKEN IT BACK TO DEALER AND WAS TOLD THAT THE CAR
              ONLY NEEDED ONE QUART OF OIL. DEALER HAS NEVER LOOKED
              TO SEE IF THERE IS A PROBLEM WITH THE TOLERANCE BETWEEN
              THE ENGINE OIL PUMP DRIVE SHAFT AND THE PUMP’S ROTOR.
              DEALERSHIP ONLY SHOWED MY HUSBAND HOW TO REPLENISH OIL
              WHEN LIGHT COMES ON. THIS HAS PROBLEM BEGAN WHEN THE
              CAR ONLY HAD 29,000 MILES. THE LIGHT WILL COME ON WHEN
              CAR IS STATIONARY AND IN MOTION ON A CITY STREET OR
              HIGHWAY. CURRENTLY MUST DRIVE AROUND WITH A QUART OF
              OIL IN CAR AT ALL TIMES FOR SAFETY REASONS. CAR NOW HAS
              40,000 MILES.

IV.    BMW Foists The Costs Of Dealing With The Oil Consumption Defect On
       Customers With Its Misleading Maintenance Program

       66.     Every Class Vehicle sold came with “BMW Ultimate Service” and the “BMW

Maintenance Program” for 4 years/50,000 miles:




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       67.      This was featured on the window stickers for the Class Vehicles and detailed in

the accompanying Service and Warranty Information booklet:




       68.      As this window sticker made clear, BMW expressly warranted that

“Maintenance Costs” “[f]or the first 4 years or 50,000 miles” will be “$0” for “all factory-

recommended services,” including “Engine Oil Services.” Based on this, a reasonable

consumer would expect to incur $0 in engine oil costs over the first 4 years or 50,000 miles of

ownership. This is confirmed by reference to the Service and Warranty Information booklet,

which details that the BMW Maintenance Program “covers all factory-recommended

maintenance, as determined by the Condition Based Service (CBS) system” and guarantees that

any authorized BMW center will “perform the scheduled and/or additional maintenance

services on your vehicle at no expense to you:”




                                                  27
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       69.      The Condition Based Service (“CBS”) system in every Class Vehicle computes

“the actual optimum maintenance requirements” for the vehicle.,,,

       70.      The CBS system “thus determines the current and future maintenance

requirements” for engine oil in the Class Vehicles:




       71.      Per BMW’s Service and Warranty Information manual, the engine oil in the

Class Vehicles must be changed at intervals determined by the CBS system:




       72.      Class Vehicle owners only know additional oil is required between oil changes

when they are prompted by their vehicles’ CBS system and a notification appears on the dash.



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The same CBS system provides a similar notification for required services:




       73.      Due to the Oil Consumption Defect, the CBS system frequently instructs

owners of the Class Vehicles to add multiple quarts of engine oil in between oil changes,

sometimes as often as every 1,000 miles. Accordingly, this instruction to add engine oil is a

required, “factory-recommended maintenance, as determined by the [CBS] system” and thus

within the coverage provided by the BMW Maintenance Program.

       74.      BMW maintains that oil consumption is supposedly normal for these

vehicles,20 and on that basis “exclu[des]” “topping off” of engine oil from coverage under the

BMW Maintenance Program. BMW provides a list of permissible oils owners can use “if” they

are instructed to top up their engine oil, expecting owners to pay for the oil themselves:




20
  According to BMW Service Information bulletin SI B11 03 13, “All engines consume a certain
amount of engine oil. This is necessary in order to properly lubricate the cylinder walls, pistons,
piston rings, valves and if equipped, the turbocharger(s). … Engines equipped with a
turbocharger(s) will consume more engine oil than normally aspirated engines (non-
turbocharged).”

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       75.      However, because of the Oil Consumption Defect, it is not a question of

“if/when” the Class Vehicles will need additional oil, but rather one of “how much” additional

oil will they need and “how often” will they need it. BMW’s refusal to cover “top ups” of

engine oil in between oil changes is significant because – unbeknownst to consumers – the Oil

Consumption Defect causes the Class Vehicles to require frequent “top ups” in between oil

changes. The CBS system, Maintenance Program, and exclusion for “top ups,” combined,

therefore furnish another example of a partial representation giving BMW a duty to disclose the

Oil Consumption Defect.

       76.      As a result of the Oil Consumption Defect, Class Vehicle owners have been

forced to routinely add multiple quarts of expensive engine oil between scheduled maintenance

at their own expense or risk losing their warranty coverage:




V.     BMW’s New Vehicle Limited Warranty

       77.      The Class Vehicles were sold with a standard BMW New Vehicle Limited

Warranty, which the company refers to as its “New SAV Limited Warranty.” Upon

information and belief, the New SAV Limited Warranty is materially identical to the BMW

warranties on all other N63TU-equipped vehicles. Collectively, these practically identical


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warranties will be referred to as BMW’s “New Vehicle Limited Warranty.”

       78.      The New Vehicle Limited Warranty includes the following terms:

              Warrantor

              BMW of North America, LLC (BMW NA) warrants during the
              Warranty Period the 2015 U.S.-specification BMW vehicles
              distributed by BMW NA or sold through the BMWNA European
              Delivery Program against defects in materials or
              workmanship to the first retail purchaser, and each subsequent
              purchaser.

              Warranty Begins

              Coverage begins on the date of first retail sale or the date the
              vehicle is first placed into service as a sales demonstrator,
              Aftersales Mobility Program (AMP) Vehicle or company vehicle,
              whichever is earlier.

              Warranty Period

              The warranty period is 48 months or 50,000 miles, whichever
              occurs first, except for as noted below.

              Warranty Coverage

              To obtain warranty service coverage, the vehicle must be brought,
              upon discovery of a defect in material or workmanship, to the
              workshop of any authorized BMW SAV center in the United States
              (including Puerto Rico), during normal business hours.

              The authorized BMW SAV center will, without charge for parts or
              labor, either repair or replace the defective part(s) using new or
              authorized remanufactured parts. The decision whether to repair or
              replace said part(s) is solely the prerogative of BMWNA. Parts for
              which replacements are made become the property of BMW NA.
              In all cases, a reasonable time must be allowed for warranty repairs
              to be completed after the vehicle is received by the authorized
              BMW SAV center.

       79.      BMW also offers a Certified Pre-Owned Warranty on used BMW vehicles sold

from authorized BMW retailers. This warranty is largely identical to original warranty, with

certain additional exclusions, and provides coverage against defects and workmanship for 2



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years/50,000 miles after the expiration of the New Vehicle Limited Warranty for a total

coverage period of 6 years/100,000 miles.

       80.      The New Vehicle Limited Warranty does not protect Class Vehicle owners

from the Oil Consumption Defect because BMW’s efforts temporarily mask these conditions

instead of providing purchasers with non-defective vehicles as originally warranted.

       81.      BMW has attempted to mask the Oil Consumption Defect until the expiration

of the New Vehicle Limited Warranty by characterizing the excessive oil consumption as

“normal” and further instructing service representatives and owners to overfill the Class

Vehicles with engine oil. These measures fail to remedy the defect because Class Members are

still left with a defective engine that consumes excessive amounts of engine oil after the

expiration of the New Vehicle Limited Warranty. As a result, Class Vehicle owners are forced

to pay for additional oil between service visits (despite the BMW Maintenance Program’s

promise to the contrary), are forced to worry about their vehicles spontaneously needing oil

away from an authorized service center, ,and will be forced to sell or trade their vehicles for a

decreased value.

       82.      Unbeknownst to Plaintiff and members of the putative classes at the time they

purchased or leased the Class Vehicles, Defendants designed and sold vehicles that were

defective in workmanship, material and manufacturing. The location, housing and placement of

the turbochargers in the N63TU contribute to overheating and the Oil Consumption Defect, and

constitute a defect in design, materials and workmanship. Defendants’ failure to design,

assemble and manufacture the N63TU and its variants in such a way as to prevent the Oil

Consumption Defect also is a defect in materials and workmanship, as well as design.

       83.      Defendants breached their express and implied warranties through which they




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promised to, inter alia, (1) provide Class Vehicles fit for the ordinary purpose for which they

were sold; and (2) repair and correct manufacturing defects or defects in materials or

workmanship of any parts they supplied, including the Oil Consumption Defect. Because the

Oil Consumption Defect was present at the time of sale or lease of the Class Vehicles,

Defendants are required to repair or replace the engine under the terms of the warranties.

       84.       BMW’s written warranties also were unconscionable. BMW knew about the

Oil Consumption Defect at the time of sale or lease, but Plaintiff and class members did not.

As alleged above, the Oil Consumption Defect can worsen at around 75,000 miles, which is

after the warranty period, but prior to the end of the Class Vehicles’ useful lives. Plaintiff and

class members had no meaningful choice in determining the temporal and/or mileage limits of

the warranties. The warranties were drafted by BMW, without any input from consumers, and

there was a gross disparity in bargaining power in favor of BMW. As a result, the terms of the

warranties unreasonably favored BMW.

       85.       Defendants have caused Plaintiff and Class Members to expend money at their

dealerships or other third-party repair facilities and/or take other remedial measures related to

the Oil Consumption Defect in the Class Vehicles such as carrying additional quarts of engine

oil with them at all times.

       86.       Despite the promises set forth by BMW in the New Vehicle Limited Warranty

and the BMW Maintenance Program, Defendants have not recalled the Class Vehicles to repair

the Oil Consumption Defect, and have not offered to reimburse Class Vehicle owners and

leaseholders who incurred costs relating to the Oil Consumption Defect.

       87.       As a result of the Oil Consumption Defect, Plaintiff and the Class Members

have not received the value for which they bargained when they purchased or leased the Class




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Vehicles. In addition, the value of the Class Vehicles has diminished, including, without

limitation, the resale value of the Class Vehicles. BMW enthusiasts who are familiar with the

Oil Consumption Defect are reluctant to purchase BMW cars if they are equipped with N63TU

engines.

                               CLASS ACTION ALLEGATIONS

       88.       Plaintiff brings this action pursuant to Federal Rules of Civil Procedure 23(a)

and 23(b)(1), (b)(2) and/or (b)(3) on behalf of the following Class and Subclasses:

               All persons or entities in the United States who purchased, leased,
               or own a Class Vehicle (the “Nationwide Class” or “Class”).

       89.       In the alternative, pursuant to Federal Rules of Civil Procedure, Rule 23(c)(5),

Plaintiff seeks to represent the following state classes if the Court declines to certify the

Nationwide Class above:

               All persons or entities in the states of California, Florida, Illinois,
               Massachusetts, Michigan, Minnesota, Missouri, New Jersey, New
               York, and Washington who purchased, leased, or own a Class
               Vehicle (the “Multi-State Consumer Fraud Class”);21

               All persons or entities in New Jersey who purchased, leased, or
               own a Class Vehicle (the “New Jersey Subclass”);

               All persons or entities in Tennessee who purchased, leased, or own
               a Class Vehicle (the “Tennessee Subclass”);

       90.       Subject to additional information obtained through further investigation and

discovery, the above-described Classes may be expanded or narrowed by an amended



21
  The states in the Multi-State Consumer Fraud Class are limited to those states with similar
consumer fraud laws under the facts of this case: California (Cal. Bus. & Prof. Code § 17200, et
seq.); Florida (Fla. Stat. § 501.201, et seq.); Illinois (815 Ill. Comp. Stat. 505/1, et seq.);
Massachusetts (Mass. Gen. Laws Ch. 93A, et seq.); Michigan (Mich. Comp. Laws § 445.901, et
seq.); Minnesota (Minn. Stat. § 325F.67, et seq.); Missouri (Mo. Rev. Stat. §407.010, et seq.);
New Jersey (N.J. Stat. § 56:8-1, et seq.); New York (N.Y. Gen. Bus. Law § 349, et seq.); and
Washington (Wash. Rev. Code § 19.86.010, et seq.).

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complaint, or narrowed at class certification.

       91.       Specifically excluded from the Classes are Defendants, Defendants’ officers,

directors, agents, trustees, parents, children, corporations, trusts, representatives, employees,

principals, servants, partners, joint ventures, or entities controlled by Defendants, and their

heirs, successors, assigns, or other persons or entities related to or affiliated with Defendants

and/or Defendants’ officers and/or directors, the judge assigned to this action, and any member

of the judge’s immediate family.

       92.       Numerosity. The members of the proposed Classes are geographically

dispersed throughout the United States and are so numerous that individual joinder is

impracticable. Upon information and belief, Plaintiff reasonably estimates that there are tens of

thousands of individuals that are members of the proposed Classes. Although the precise

number of proposed members is unknown to Plaintiff, the true number of Class members is

known by Defendants. More specifically, BMW and its network of authorized dealers

maintains databases that contain the following information: (i) the name of each Class member

that leased or purchased a vehicle; and (ii) the address of each Class member. Thus, Class

members may be identified and notified of the pendency of this action by first class mail,

electronic mail, and/or published notice, as is customarily done in consumer class actions.

       93.       Existence and predominance of common questions of law and fact.

Common questions of law and fact exist as to all Class members and predominate over any

questions affecting only individual Class members. These common legal and factual questions

include, but are not limited to, the following:

       a)      Whether the Class Vehicles are defective because they frequently burn, leak,

               and/or otherwise consume excessive amounts of engine oil;




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       b)      Whether the Oil Consumption Defect constitutes an unreasonable safety risk;

       c)      Whether the Class Vehicles are defective because they are unreliable and in need

               of frequent repair;

       d)      Whether the N63TU engine and its variants were defectively designed and/or

               manufactured;

       e)      Whether BMW knew or should have known the Class Vehicles were defective

               before they were first sold to consumers;

       f)      Whether BMW misrepresented or omitted material information regarding the

               quality and/or reliability of the Class Vehicles;

       g)      Whether the Class Vehicles have conformed to reasonable buyers’ expectations;

       h)      Whether BMW had a duty to inform purchasers of the Class Vehicles about the

               Oil Consumption Defect prior to sale;

       i)      Whether as a result of Defendants’ concealment or failure to disclose material

               facts, Plaintiff and Class Members acted to their detriment by purchasing Class

               Vehicles manufactured by Defendants;

       j)      Whether Defendants breached the New Vehicle Limited Warranty; and

       k)      Whether Defendants breached the promises set forth in the BMW Maintenance

               Program.

       94.       Typicality. Plaintiff’s claims are typical of the claims of the other Class

members in that Plaintiff sustained damages arising out of the same illegal actions and conduct

by Defendants.

       95.       Adequacy of Representation. Plaintiff will fairly and adequately protect the

interests of Class members. Plaintiff has retained counsel that is highly experienced in complex




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consumer class action litigation, and Plaintiff intends to vigorously prosecute this action on

behalf of the Classes. Furthermore, Plaintiff has no interests that are antagonistic to those of the

Classes.

       96.      Superiority. A class action is superior to all other available means for the fair

and efficient adjudication of this controversy. The damages or other financial detriment

suffered by Class members is relatively small compared to the burden and expense of individual

litigation of their claims against Defendants. It would, thus, be virtually impossible for Class

members, on an individual basis, to obtain effective redress for the wrongs committed against

them. Furthermore, even if Class members could afford such individualized litigation, the court

system could not. Individualized litigation would create the danger of inconsistent or

contradictory judgments arising from the same set of facts. Individualized litigation would also

increase the delay and expense to all parties and the court system from the issues raised by this

action. By contrast, the class action device provides the benefits of adjudication of these issues

in a single proceeding, economies of scale, and comprehensive supervision by a single court,

and presents no unusual management difficulties under the circumstances.

       97.      In the alternative, the Class and Subclasses may also be certified because the

prosecution of separate actions by individual members of the Classes would create a risk of

inconsistent or varying adjudication with respect to individual Class members that would

establish incompatible standards of conduct for the Defendants. The prosecution of separate

actions by individual Class members also would create a risk of adjudications with respect to

them that would, as a practical matter, be dispositive of the interests of other members of the

Classes not parties to the adjudications, or substantially impair or impede their ability to protect

their interests. Finally, Defendants have acted or refused to act on grounds generally applicable




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to the Class and Subclasses whole, thereby making appropriate final declaratory and/or

injunctive relief with respect to the members of the Classes as a whole.

                                      CLAIMS FOR RELIEF

                                           COUNT I
                                   Breach Of Express Warranty

       98.       Plaintiff incorporates by reference all allegations contained in this Complaint as

though fully set forth herein.

       99.       Plaintiff brings this count on behalf of himself and members of the Class and

Subclasses.

       100.      BMW assembled and placed the Class Vehicles into the stream of commerce

with the intent they be purchased by Plaintiff and Class Members.

       101.      In the New Vehicle Limited Warranty, BMW expressly warranted the Class

Vehicles “against defects in materials or workmanship” when first sold to retail purchasers.

       102.      BMW also expressly warranted that it would repair or replace defective

vehicles, at no cost to the owner, if it receives notice of vehicle defects within the first 48

months or 50,000 miles after the first retail sale.

       103.      Pursuant to the BMW Maintenance Program, BMW also expressly warranted

that it would “cover[] all factory-recommended maintenance, as determined by the Condition

Based Service (CBS) system.”

       104.      The terms of BMW’s New Vehicle Limited Warranty and the BMW

Maintenance Program became part of the basis of the bargain between Plaintiff and all other

Class Members when deciding to purchase a Class Vehicle.

       105.      Plaintiff and Class Members, including second-hand owners who did not

purchase Class Vehicles from BMW authorized dealerships, are express, intended third-party



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beneficiaries of BMW’s New Vehicle Limited Warranty because it explicitly extends to “the

first retail purchaser, and each subsequent purchaser.”

       106.      BMW breached its New Vehicle Limited Warranty with respect to the Class

Vehicles: (1) each time it sold Class Vehicles in a defective state to first retail purchasers; (2)

each time its authorized service representatives failed to properly repair, replace, or adjust

malfunctioning Class Vehicles to a non-defective state; and (3) each time it failed to authorize

its service representatives to perform adequate repairs on Class Vehicles and instead instructed

its representatives to perform temporary, inadequate repairs to mask the underlying defects until

after the expiration of the New Vehicle Limited Warranty.

       107.      BMW breach its BMW Maintenance Program by refusing to cover the cost of

the additional quarts of engine oil required by the Class Vehicles’ CBS systems to be added in

between oil changes.

       108.      As a result of the Oil Consumption Defect, the Class Vehicles were defective

and did not adhere to the New Vehicle Limited Warranty when first sold and have not been

remedied as originally warranted since the time of sale.

       109.      By breaching its express warranty, BMW has caused and continues to cause

these warranties to fail of their essential purpose.

       110.      Defendants’ attempt to disclaim or limit these express warranties vis-à-vis

consumers is unconscionable and unenforceable under the circumstances here. Specifically,

Defendants’ warranty limitation is unenforceable because they knowingly sold a defective

product without informing consumers about the defect.

       111.      The time limits contained in Defendants’ warranty period were also

unconscionable and inadequate to protect Plaintiff and the Class Members. Among other




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things, Plaintiff and Class Members had no meaningful choice in determining these time

limitations, the terms of which unreasonably favored Defendants. A gross disparity in

bargaining power existed between Defendants and the Class Members, and Defendants knew or

should have known that the Class Vehicles were defective at the time of sale and would fail

well before their useful lives.

       112.      BMW has been given a reasonable opportunity to cure its breach of the New

Vehicle Limited Warranty and/or Plaintiff and Class Members were not required to do so

because such an opportunity would be futile. BMW has known about the Oil Consumption

Defect since at least 2008 and failed to repair or replace Class Vehicles as originally warranted.

       113.      As a direct and proximate result of BMW’s breach of the New Vehicle Limited

Warranty and the BMW Maintenance Program, Plaintiff and Class Members have suffered

damages in an amount to be determined at trial.

       114.      Plaintiff, individually and on behalf of the Class and Subclasses, seeks all

damages permitted by law, including compensation for the monetary difference between the

Class Vehicles as warranted and as sold; compensation for the reduction in resale value;

compensation for out-of-pocket repairs and service; towing charges incurred as a result of the

Class Vehicles breakdowns; the cost of purchasing, leasing, or renting replacement vehicles;

along with all other incidental and consequential damages, statutory damages, attorney’s fees,

and all other relief allowed by law.

                                          COUNT II
                                  Breach Of Implied Warranty
       115.      Plaintiff incorporates by reference all allegations contained in this Complaint as

though fully set forth herein.

       116.      Plaintiff brings this count on behalf of himself and members of the Class and



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Subclasses.

       117.     BMW marketed and placed the Class Vehicles into the stream of commerce

with the intent they be purchased by Plaintiff and Class Members.

       118.     BMW is a “merchant” for purposes of the Uniform Commercial Code because

the company regularly sells consumer automobiles of this kind.

       119.     As a result of the Oil Consumption Defect, the Class Vehicles were defective

and not of merchantable quality when they left BMW’s control. Plaintiff and Class Members

used their Class Vehicles for the ordinary purpose that consumer automobiles are used—to

reliably, comfortably, and safely transport passengers and belongings for personal, family, or

household purposes. Despite Plaintiff’s and Class Members’ ordinary and expected use of their

vehicles, BMWs containing any variant of the N63TU engine did not adhere to minimal

consumer expectations, were not of fair and average quality, and would not pass without

objection in the luxury consumer automotive industry at the time of sale.

       120.     As recognized in the New Vehicle Limited Warranty, BMW also extended an

implied warranty of merchantability over class vehicles for 48 months or 50,000 miles. BMW

breached this warranty of future performance with respect to the Class Vehicles: (1) each time

its authorized service representatives failed to properly repair, replace, or adjust malfunctioning

the Class Vehicles to a minimally passable state; and (2) each time it failed to authorize its

service representatives to perform adequate repairs on the Class Vehicles and instead instructed

its representatives to perform temporary, inadequate repairs to the underlying defects mask

defects until the expiration of the implied warranty of merchantability.

       121.     BMW has been given a reasonable opportunity to cure its breach of the implied

warranty of merchantability and/or Plaintiff and Class Members were not required to do so




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because such an opportunity would be futile. BMW has known about the Oil Consumption

Defect since at least 2008 and has failed to repair or replace the Class Vehicles to a minimum

standard of quality.

       122.      Defendants’ attempt to disclaim or limit the implied warranty of

merchantability vis-à-vis consumers is unconscionable and unenforceable here. Specifically,

Defendants’ warranty limitation is unenforceable because they knowingly sold a defective

product without informing consumers about the defect.

                                           COUNT III
                                        Unjust Enrichment

       123.      Plaintiff incorporates by reference all allegations contained in this Complaint as

though fully set forth herein.

       124.      Plaintiff brings this count on behalf of himself and members of the Class and

Subclasses.

       125.      This claim is pled in the alternative to the other legal claims alleged in the

complaint.

       126.      Plaintiff and members of the Classes conferred a benefit on Defendants by

leasing or purchasing the Class Vehicles. Defendants were and should have been reasonably

expected to provide Class Vehicles free from the Oil Consumption Defect.

       127.      Defendants unjustly profited from the lease and sale of the Class Vehicles at

inflated prices as a result of their false representations, omissions and concealment of the Oil

Consumption Defect in the Class Vehicles. Defendants benefited, at Plaintiff’s and class

members’ expense, when they sold or leased vehicles that were inferior to the vehicles Plaintiff

and class members thought they were purchasing, yet the price they paid was the price for a

supposedly better functioning vehicle they thought they were purchasing. Defendants also



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unjustly profited from refusing to cover the costs of additional engine oil under the BMW

Maintenance Program.

       128.      As a proximate result of Defendants’ false representations, omissions and

concealment of the Oil Consumption Defect in the Class Vehicles, and as a result of

Defendants’ ill-gotten gains, benefits and profits, Defendants have been unjustly enriched at the

expense of Plaintiff and members of the Classes. It would be inequitable for Defendants to

retain their ill-gotten profits without paying the value thereof to Plaintiff and members of the

Classes.

       129.      There is a direct relationship between Defendants on the one hand, and Plaintiff

and class members on the other, sufficient to support a claim for unjust enrichment.

Defendants, acting in concert, failed to disclose the Oil Consumption Defect to improve retail

sales, which in turn improved wholesale sales. Conversely, Defendants knew that disclosure of

the Oil Consumption Defect would suppress retail and wholesale sales of the Class Vehicles,

suppress leasing of the Class Vehicles, and would negatively impact the reputation of

Defendants’ brand among Plaintiff and class members. Defendants also knew their

concealment and suppression of the Oil Consumption Defect would discourage Plaintiff and

Class members from seeking replacement or repair of the engines, thereby increasing profits

and/or avoiding the cost of such replacement or repairs.

       130.      Plaintiff and members of the Classes are entitled to restitution in the amount of

Defendants’ ill-gotten gains, benefits and profits, including interest, resulting from their

unlawful, unjust and inequitable conduct.

       131.      Plaintiff and members of the Classes seek an order requiring Defendants to

disgorge their gains and profits to Plaintiff and members of the Classes, together with interest,




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in a manner to be determined by the Court.

                                          COUNT IV
                                       Fraud By Omission
       132.      Plaintiff incorporates by reference all allegations contained in this Complaint as

though fully set forth herein.

       133.      Plaintiff brings this count on behalf of himself and members of the Class and

Subclasses.

       134.      Defendants intentionally and knowingly concealed, suppressed and/or omitted

material facts including the standard, quality or grade of the Class Vehicles and the fact that the

engines installed in the Class Vehicles suffered from the Oil Consumption Defect, exposing

drivers, occupants and members of the public to safety risks with the intent that Plaintiff and

Class members rely on Defendants’ misrepresentations and omissions. As a direct result of

Defendants’ fraudulent conduct, Plaintiff and Class members have suffered actual damages.

       135.      Plaintiff and Class members would not have purchased the Class Vehicles but

for Defendants’ omissions and concealment of material facts regarding the nature and quality of

the Class Vehicles and the existence of the Oil Consumption Defect or would have paid less for

the Class Vehicles.

       136.      Defendants had a duty to disclose the Oil Consumption Defect because it can

cause engine failure while the Class Vehicles are in operation at any time and under any driving

conditions or speeds, thereby exposing the Class Vehicle drivers, their passengers, and others

who share the road with them to serious risk of accidents and injury.

       137.      Defendants also had a duty to disclose the Oil Consumption Defect as a result

of partial representations made in the owner’s manual and the New Vehicle Limited Warranty.

The owner’s manual describes the “BMW Maintenance Program,” which “covers all factory-



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recommended maintenance.” However, that Program excludes from coverage “‘topping off’

low fluids (e.g., engine oil …)” and “[o]il changes performed outside the recommended

maintenance intervals ….” Those partial representations do not disclose the Oil Consumption

Defect and thus create a reasonable belief that the amount of oil that the Class Vehicles

consume is comparable to other vehicles. The owner’s manual also contains a “maintenance

service summary” that specifically addresses replacing engine oil. The summary identifies

recommended replacement oil and various air and fuel filters that should be replaced after every

second, fourth, and fifth engine oil service. The manual does not disclose that the maintenance

instructions may be impacted by the Oil Consumption Defect.

         138.   Plaintiff and Class members relied upon material omissions of employees and

agents of Defendants at the time of purchase or lease, and material omissions in the owner’s

manuals, concerning the Oil Consumption Defect.

         139.   Defendants knew their concealment and suppression of material facts were

false and misleading and knew the effect of concealing those material facts. Defendants knew

their concealment and suppression of the Oil Consumption Defect would sell more Class

Vehicles and would discourage Plaintiff and Class members from seeking replacement or repair

of the engines, thereby increasing profits.

         140.   Defendants acted with malice, oppression and fraud.

         141.   Plaintiff and Class members reasonably relied upon Defendants’ knowing,

affirmative and active concealment and omissions. As a direct and proximate result of

Defendants’ omissions and active concealment of material facts regarding the Oil Consumption

Defect, Plaintiff and Class members suffered actual damages in an amount to be determined at

trial.




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                                       COUNT V
                Violation Of The Magnuson-Moss Warranty Act (“MMWA”)

        142.     Plaintiff incorporates by reference all allegations contained in this Complaint as

though fully set forth herein.

        143.     Plaintiff brings this count on behalf of himself and members of the Class and

Subclasses.

        144.     Plaintiff and other Class Members are “consumers” who purchased “consumer

products” for purposes of 15 U.S.C. § 2301(1) and (3) because they purchased Class Vehicles

for personal, family, or household purposes and are entitled to invoke the New Vehicle Limited

Warranty.

        145.     BMW is a “supplier” and “warrantor” within the meaning of 15 U.S.C.

§ 2301(4) and (5) because the company regularly sells BMW vehicles accompanied by the

written New Vehicle Warranties.

        146.     The amount in controversy of the Plaintiff’s individual claims meets or exceeds

$25.00 in value. In addition, the amount in controversy meets or exceeds $50,000 in value

(exclusive of interest and costs) computed on the basis of all claims to be determined in this

suit.

        147.     BMW violated the Magnuson-Moss Warranty Act when it failed to honor its

written warranty obligations in the New Vehicle Limited Warranty by delivering Class Vehicles

that suffered from the Oil Consumption Defect as described in detail above.

        148.     BMW specifically warranted its vehicles “against defects in materials or

workmanship” at the time of retail sale and for an additional “48 months or 50,000 miles.”

BMW extended this warranty “to the first retail purchaser, and each subsequent purchaser” for

the duration of the warranty.



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        149.     The terms of BMW’s written New Vehicle Limited Warranty became part of

the basis of the bargain between Plaintiff and all other Class Members when deciding to

purchase a Class Vehicle.

        150.     BMW breached its written warranty with respect to Class Vehicles: (1) each

time it sold Class Vehicles in a defective state to first retail purchasers; (2) each time its

authorized service representatives failed to properly repair, replace, or adjust malfunctioning

Class Vehicles to a non-defective state; and (3) each time it failed to authorize its service

representatives to perform adequate repairs on Class Vehicles and instead instructed its

representatives to perform temporary, inadequate repairs to mask the underlying defects until

after the expiration of the New Vehicle Limited Warranty.

        151.     BMW also extended an implied warranty of merchantability on Class Vehicles

at the time of sale and for the first 48 months or 50,000 miles.

        152.     BMW breached the implied warranty of merchantability when it sold Class

Vehicles to consumers that suffered from the Oil Consumption Defect when they left BMW’s

control. Plaintiff and Class Members used their Class Vehicles for the ordinary purpose that

consumer automobiles are used—to reliably, comfortably, and safely transport passengers and

belongings for personal, family, or household purposes. Despite Plaintiff’s and Class

Members’ ordinary and expected use of their vehicles, the Class Vehicles have not lived up to

minimal consumer expectations. As a result, BMW breached the implied warranty of

merchantability when it sold Class Vehicles that were not of fair average quality and would not

pass without objection in the luxury consumer automotive industry at the time of sale.

        153.     BMW has been given a reasonable opportunity to cure its breach of the New

Vehicle Limited Warranty and implied warranty of merchantability and/or Plaintiff and Class




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Members were not required to do so because such an opportunity would be futile. BMW has

known about the Oil Consumption Defect since at least 2008 and has failed to repair or replace

Class Vehicles as originally warranted.

       154.      As a direct and proximate result of BMW’s breach of the New Vehicle Limited

Warranty and the implied warranty of merchantability, Plaintiff and Class Members have

suffered damages in an amount to be determined at trial.

       155.      Plaintiff, individually and on behalf of the Class and Subclasses, seeks all

damages permitted by law, including compensation for the monetary difference between the

Class Vehicles as warranted and as sold; compensation for the reduction in resale value;

compensation for out-of-pocket repairs and service; towing charges incurred as a result of Class

Vehicle breakdowns; the cost of purchasing, leasing, or renting replacement vehicles, along

with all other incidental and consequential damages, all equitable remedies available pursuant

to 15 U.S.C. § 2310(d)(1), statutory attorney fees pursuant to 15 U.S.C. § 2310(d)(2), as well as

all other relief allowed by law.

                                       COUNT VI
               Violation Of The New Jersey Consumer Fraud Act (“NJCFA”)

       156.      Plaintiff incorporates by reference all allegations contained in this Complaint as

though fully set forth herein.

       157.      Plaintiff brings this count on behalf of himself and members of the Class, the

Multi-State Consumer Fraud Class, and the Subclasses.

       158.      Plaintiff and Class Members have suffered an injury in fact and lost money or

property as a result of Defendants’ violations of New Jersey’s Consumer Fraud Act (“NJCFA”).

       159.      The NJCFA protects consumers from “any unconscionable commercial

practice, deception, fraud, false pretense, false promise, misrepresentation, or the knowing,



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concealment, suppression, or omission, in connection with the sale or advertisement of any

merchandise . . . .” N.J. Stat. Ann. § 56:8-2.

       160.     Plaintiff and Class Members are consumers who purchased and/or leased Class

Vehicles for personal, family or household use.

       161.     Defendants engaged in unlawful conduct by deliberately and knowingly

engaging in misrepresentations and false statements regarding the Class Vehicles, in the course

of Defendants’ business. Specifically, Defendants knew or should have known that the Class

Vehicles suffered from an excessive Oil Consumption Defect that required supplemental

addition of oil in quantities as high as one quart every 750 miles. However, Defendants failed

to disclose this defect to Plaintiff and the class members at the time of purchase and/or lease.

       162.     Defendants have also engaged in unlawful conduct by willfully and knowingly

suppressing and/or omitting information related to the Class Vehicles to consumers.

Specifically, Defendants purposefully and knowingly failed to disclose the Oil Consumption

Defect in the Class Vehicles to consumers such as Plaintiff and the Class Members to secure the

sale and/or lease of the Class Vehicles at a premium price. Defendants also failed to disclose

the Oil Consumption Defect during the limited warranty period to avoid having to perform their

contractual duties under the warranty to repair all known defects.

       163.     Defendants did not fully and truthfully disclose to their customers the true

nature of the Oil Consumption Defect in the Class Vehicles, now was this defects readily

discoverable at the time of purchase or lease.

       164.     Defendants intended that Plaintiff and the Class Members rely on their

misrepresentation and/or acts of concealment and omission, so that they would purchase and/or

lease the Class Vehicles.




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       165.      Accordingly, Defendants have engaged in unfair and deceptive trade practices,

including representing that the Class Vehicles have characteristics, uses, benefits, and qualities

which they do not have; representing that the Class Vehicles are of a particular standard and

quality when they are not; advertising Class Vehicles with the intent to not sell them as

advertised; and otherwise engaging in conduct likely to deceive. Further, Defendants’ acts and

practices described herein offend established public policy because of the harm they cause to

consumers, motorists, and pedestrians outweighs any benefit associated with such practices, and

because Defendants fraudulently concealed the defective nature of the Class Vehicles from

consumers.

       166.      Defendants’ actions as set forth above occurred in the conduct of trade or

commerce.

       167.      By engaging in the above-described practice and the actions and omissions

herein alleged, Defendants have committed one or more unlawful acts in violation of the

NJCFA.

                                          COUNT VII
                            Violation Of State Consumer Fraud Acts

       168.      Plaintiff incorporates by reference all allegations contained in this Complaint as

though fully set forth herein.

       169.      The Consumer Fraud Acts of the states in the Multi-State Consumer Fraud

Class prohibit the use of unfair or deceptive business practices in the conduct of trade or

commerce.22




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  California (Cal. Bus. & Prof. Code § 17200, et seq.); Florida (Fla. Stat. § 501.201, et seq.);
Illinois (815 Ill. Comp. Stat. 505/1, et seq.); Massachusetts (Mass. Gen. Laws Ch. 93A, et seq.);
Michigan (Mich. Comp. Laws § 445.901, et seq.); Minnesota (Minn. Stat. § 325F.67, et seq.);

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       170.     Defendants intended that Plaintiff and each of the other members of the Multi-

State Consumer Fraud Class would rely upon their deceptive conduct, and a reasonable person

would in fact be misled by this deceptive conduct.

       171.     As a result of the Defendants’ use or employment of unfair or deceptive acts or

business practices, Plaintiff and each of the other members of the Multi-State Consumer Fraud

Class have sustained damages in an amount to be proven at trial.

       172.     In addition, Defendants’ conduct showed malice, motive, and the reckless

disregard of the truth such that an award of punitive damages is appropriate.

                                          COUNT VIII
                   Breach Of Implied Covenant Of Good Faith And Fair Dealing

       173.     Plaintiff incorporates and reallege each preceding paragraph as though fully set

forth herein.

       174.     Each contract of sale and lease agreement entered by Plaintiff and class

members for the purchase or lease of the Class Vehicles contains an implied term requiring

BMW to adhere to a duty of good faith and fair dealing.

       175.     BMW breached its duty of good faith and fair dealing by failing to notify

Plaintiff and class members of the Oil Consumption Defect, and failing to fully and properly

repair the defect, at no expense to Plaintiff and class members. BMW further breached its duty

of good faith and fair dealing by failing to honor the terms of the BMW Maintenance Program.

       176.     BMW’s breach of its implied duty of good faith and affair dealing is

intentional, malicious, and with willful and wanton disregard of the rights and interests of

Plaintiffs and class members.


Missouri (Mo. Rev. Stat. §407.010, et seq.); New Jersey (N.J. Stat. § 56:8-1, et seq.); New York
(N.Y. Gen. Bus. Law § 349, et seq.); and Washington (Wash. Rev. Code § 19.86.010, et seq.).

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        177.     As a direct and proximate result of BMW’s breach of implied duty of good

faith and fair dealing, Plaintiff and class members suffered damages, including but not limited

to oil costs, costly repairs, loss of use of the vehicle, loss in value and resale value of the vehicle

and other damages in an amount to be determined at trial.

                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, on behalf of himself and all others similarly situated,

 respectfully requests that this Court enter judgment against Defendants and in favor of

 Plaintiff and the Class and Subclasses, and award the following relief:

         A.      An order certifying this action as a class action pursuant to Rule 23 of the

                 Federal Rules of Civil Procedure, declaring Plaintiff as a representative of the

                 Class and Subclasses, and Plaintiff’s counsel as counsel for the Class and

                 Subclasses;

         B.      An order awarding declaratory relief and enjoining Defendants from continuing

                 the unlawful, deceptive, fraudulent, harmful, and unfair business conduct and

                 practices alleged herein;

         C.      Injunctive and equitable relief in the form of a comprehensive program to

                 repair the Oil Consumption Defect, and/or buyback all Class Vehicles, and to

                 fully reimburse and make whole all Class and Subclass members for all costs

                 and economic losses;

         D.      A declaration that Defendants are financially responsible for all Class notice

                 and the administration of Class relief;

         E.      An order awarding costs, restitution, disgorgement, punitive damages, treble

                 damages and exemplary damages under applicable law, and compensatory




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                 damages for economic loss and out-of-pocket costs in an amount to be

                 determined at trial;

         F.      An order awarding any applicable statutory and civil penalties;

         G.      A declaration that Defendants are required to engage in corrective advertising;

         H.      An order requiring Defendants to pay both pre- and post-judgment interest on

                 any amounts awarded;

         I.      An award of costs, expenses and attorneys’ fees as permitted by law; and

         J.      Such other or further relief as the Court may deem appropriate, just, and

                 equitable.

                                  DEMAND FOR JURY TRIAL

         Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury of

 any and all issues in this action so triable of right.

Dated: May 17, 2019                             Respectfully submitted,

                                                BURSOR & FISHER, P.A.

                                                By:        s/ Frederick J. Klorczyk III
                                                              Frederick J. Klorczyk III

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